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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:
                                                           Chapter 11
ORCHIDS PAPER PRODUCTS
COMPANY, et al.,1                                          Case No. 19-10729 (MFW)

                 Debtors.                                  (Jointly Administered)

                                                           Re: Docket No. 385

     ORDER EXTENDING THE EXCLUSIVITY PERIODS FOR THE FILING OF A
      CHAPTER 11 PLAN AND SOLICITATION OF ACCEPTANCES THEREOF

         Upon the motion (the “Motion”)2 of the Debtors for entry of an order, pursuant to

Bankruptcy Code section 1121(d), extending the Debtors’ exclusive periods in which to file a

chapter 11 plan (the “Exclusivity Period”) and solicit acceptances thereof (the “Exclusive

Solicitation Period”), all as more fully set forth in the Motion; and the Court finding that (a) the

Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, (b) this matter is a

core proceeding within the meaning of 28 U.S.C. § 157(b)(2), and that the Debtors consent to

entry of a final order under Article III of the United States Constitution, and (c) notice of the

Motion was due and proper under the circumstances; and it appearing that the relief requested in

the Motion is in the best interests of the Debtors’ estates, their creditors, and other parties in

interest; and after due deliberation, and good and sufficient cause appearing therefor,

         IT IS HEREBY ORDERED THAT:

         1.      The Motion is GRANTED as set forth herein.


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are Orchids Paper Products Company, a Delaware corporation (6944), Orchids Paper Products Company of
South Carolina, a Delaware corporation (7198), and Orchids Lessor SC, LLC, a South Carolina limited liability
company (7298). The location of the Debtors’ mailing address is 201 Summit View Drive, Suite 110, Brentwood,
Tennessee 37027.
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  Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Motion.


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         2.     Pursuant to Bankruptcy Code section 1121(d), the Debtors’ Exclusivity Period is

extended through and including October 28, 2019.

         3.     Pursuant to Bankruptcy Code section 1121(d), the Debtors’ Exclusive Solicitation

Period is extended through and including December 30, 2019.

         4.     The extensions of the Exclusivity Period and the Exclusive Solicitation Period

granted herein are without prejudice to such further requests that may be made pursuant to

Bankruptcy Code section 1121(d) by the Debtors or any party in interest, for cause shown, upon

notice and a hearing.

         5.     Nothing herein shall create, nor is intended to create, any rights in favor of or

enhance the status of any claim held by any party.

         6.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order.

         7.     This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation of this Order.




         Dated: September 10th, 2019
         Wilmington, Delaware                   2     MARY F. WALRATH
69236219.2                                            UNITED STATES BANKRUPTCY JUDGE
